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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

MONICA ABBOUD, individually and                  §
on behalf of all others similarly situated,      §
                                                 §
       Plaintiff,                                §
                                                 §          Case No. 3:19-cv-120
v.                                               §
                                                 §
AGENTRA, LLC,                                    §
                                                 §
       Defendant.                                §

      DEFENDANT’S ANSWER TO PLAINTIFF’S CLASS ACTION COMPLAINT

       Defendant Agentra, LLC (“Defendant”) by and through its undersigned counsel, files this

Answer to Plaintiff’s Class Action Complaint (the “Complaint”). In response to the numbered

paragraphs in the Complaint, Defendants respond as follows:

       1.      Defendant denies the allegations in paragraph 1.

                                              PARTIES

       2.      Defendant is without sufficient knowledge to admit or deny the allegations in

paragraph 2 and therefore denies the same.

       3.      Admitted.

                                     JURISDICTION AND VENUE

       4.      Paragraph 4 contains legal conclusions to which no answer is required. To the

extent an answer is required, Defendant denies the allegations in paragraph 4.

       5.      Paragraph 5 contains legal conclusions to which no answer is required. To the

extent an answer is required, Defendant admits that it resides and is headquartered in Dallas

County.




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                               COMMON ALLEGATIONS OF FACT

       6.      Defendant is an insurance marketing organization/agency. Defendant otherwise

denies the allegations in paragraph 6.

       7.      Defendant denies the allegations in paragraph 7. Agentra does not conduct outgoing

sales calls, much less through the use of auto-dialers or pre-recorded calls/texts without consent.

Agentra expressly requires its downline insurance agents to comply with state and federal laws,

which includes those regarding the use of auto-dialers or pre-recorded calls/texts without consent.

       8.      Defendant denies the allegations in paragraph 8.

       9.      Defendant denies the allegations in paragraph 9.

       10.     Defendant denies the allegations in paragraph 10.

       11.     Defendant denies the allegations in paragraph 11.

       12.     Defendant denies the allegations in paragraph 12.

       13.     Defendant denies the allegations in paragraph 13.

                                 FACTS SPECIFIC TO PLAINTIFF

       14.     Defendant is without sufficient knowledge to admit or deny the allegations in

paragraph 14 and therefore denies the same.

       15.     Defendant is without sufficient knowledge to admit or deny the allegations in

paragraph 15 and therefore denies the same.

       16.     Defendant denies the allegations in paragraph 16.

       17.     Defendant is without sufficient knowledge to admit or deny the allegations in

paragraph 17 and therefore denies the same.

       18.     Defendant is without sufficient knowledge to admit or deny the allegations in

paragraph 18 and therefore denies the same.




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       19.     Defendant is without sufficient knowledge to admit or deny the allegations in

paragraph 19 and therefore denies the same.

       20.     Defendant denies the allegations in paragraph 20.

       21.     Defendant denies the allegations in paragraph 21 and avers that on at least

November 7, 2018 and January 22, 2019, Plaintiff provided her personal information (including

her telephone number) to independent contractors of Defendant and signed up for certain of

Defendant’s products through those independent contractors.

       22.     Defendant denies the allegations in paragraph 22.

       23.     Defendant denies the allegations in paragraph 23.

       24.     Paragraph 24 contains legal conclusions to which no answer is required. To the

extent an answer is required, Defendant denies the allegations in paragraph 24.

                                 CLASS ACTION ALLEGATIONS

       25.     Paragraph 25 contains legal conclusions to which no answer is required. To the

extent an answer is required, Defendant denies the allegations in paragraph 25.

       26.     Paragraph 26 contains legal conclusions to which no answer is required. To the

extent an answer is required, Defendant denies the allegations in paragraph 26.

       27.     Paragraph 27 contains legal conclusions to which no answer is required. To the

extent an answer is required, Defendant denies the allegations in paragraph 27.

       28.     Paragraph 28 contains legal conclusions to which no answer is required. To the

extent an answer is required, Defendant denies the allegations in paragraph 28.

       29.     Paragraph 29 contains legal conclusions to which no answer is required. To the

extent an answer is required, Defendant denies the allegations in paragraph 29.




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          30.   Paragraph 30 contains legal conclusions to which no answer is required. To the

extent an answer is required, Defendant denies the allegations in paragraph 30.

          31.   Paragraph 31 contains legal conclusions to which no answer is required. To the

extent an answer is required, Defendant denies the allegations in paragraph 31.

          32.   Paragraph 32 contains legal conclusions to which no answer is required. To the

extent an answer is required, Defendant denies the allegations in paragraph 32.

                                    FIRST CAUSE OF ACTION

          33.   Defendant incorporates by reference its foregoing response as if fully set forth

herein.

          34.   Defendant denies the allegations in paragraph 34.

          35.   Defendant denies the allegations in paragraph 35.

          36.   Defendant denies the allegations in paragraph 36.

          37.   Defendant denies the allegations in paragraph 37.

          38.   Defendant denies the allegations in paragraph 38.

          39.   Defendant denies the allegations in paragraph 39.

                                   SECOND CAUSE OF ACTION

          40.   Defendant incorporates by reference its foregoing response as if fully set forth

herein.

          41.   Defendant denies the allegations in paragraph 41.

          42.   Defendant denies the allegations in paragraph 42.

          43.   Defendant denies the allegations in paragraph 43.

          44.   Defendant denies the allegations in paragraph 44.

          45.   Defendant denies the allegations in paragraph 45.




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         46.    Defendant denies the allegations in paragraph 46.

                                        PRAYER FOR RELIEF

         Defendant denies that Plaintiff is entitled to any of the relief requested in Paragraphs (A)-

(H).

                                      AFFIRMATIVE DEFENSES

         Defendant asserts the following affirmative defenses without assuming any burden of

pleading or proof that would otherwise rest on Plaintiff. Defendant may assert additional

affirmative defenses to which it may be entitled or which may be developed during discovery,

including additional unique affirmative defenses applicable to different putative class members of

Plaintiff’s proposed class. Defendant may assert such additional affirmative defenses as the need

arises, insofar as class certification has not been granted and is not appropriate in this case.

                    FIRST AFFIRMATIVE DEFENSE (NO DUPLICATIVE RELIEF)

         To the extent that any relief sought by Plaintiff would be duplicative of relief sought by

plaintiffs in other lawsuits, subjecting Defendants to the possibility of multiple recovery, such

recovery is barred by the Fifth and Eighth Amendment to the United States Constitution.

                      SECOND AFFIRMATIVE DEFENSE (LACK OF STANDING)

         Plaintiff and members of any putative class have not suffered any concrete injury and thus

lack standing to assert TCPA claims against Defendant.

                     THIRD AFFIRMATIVE DEFENSE (WAIVER AND ESTOPPEL)

         Plaintiff and members of any putative class have waived their right to recover herein, in

whole or in part, and/or their claims are barred by estoppel.




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            FOURTH AFFIRMATIVE DEFENSE (FAILURE TO JOIN NECESSARY PARTIES)

       This action may not proceed because Plaintiff has failed to join necessary parties to

properly adjudicate his claims.

                     FIFTH AFFIRMATIVE DEFENSE (COMPARATIVE FAULT)

       Any damages sustained by Plaintiff or members of any putative class must be reduced in

proportion to the wrongful or negligent conduct of persons or entities other than Defendant,

including third parties, under the principles of equitable allocation, recoupment, set-off,

proportionate responsibility, and/or comparative fault.

                      SIXTH AFFIRMATIVE DEFENSE (THIRD-PARTY ACTS)

       Any alleged injury or damage sustained by Plaintiff or members of any putative class were

caused, in whole or in part, by the conduct of third parties over which Defendant had no control.

                         SEVENTH AFFIRMATIVE DEFENSE (CONSENT)

       Plaintiff and members of any putative class provided prior express consent to receive calls

and texts from Defendant and its independent contractors.



                                       PRAYER FOR RELIEF

       WHEREFORE, Defendant Agentra, LLC denies that Plaintiff is entitled to any of the relief

sought, and denies that a class can be certified here. Defendant requests that the Court:

       1.      Dismiss the Complaint with prejudice;

       2.      Enter judgment for Defendant;

       3.      Dismiss the class claims;

       4.      Award to Defendant its costs and expenses incurred in defending this

               action; and




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       5.     Grant such other and further relief as the Court deems just and proper.

Dated: February 25, 2019                    Respectfully submitted,


                                            PLATT CHEEMA RICHMOND PLLC

                                            By: s/ Bill S. Richmond
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                                            COUNSEL FOR DEFENDANT


                               CERTIFICATE OF SERVICE

       The undersigned counsel for Defendant does certify that he served this pleading on all
counsel of record by electronic filing on February 25, 2019 through the CM/ECF system.

                                            _s/ Bill S. Richmond__________
                                            WILLIAM S. RICHMOND




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